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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

Anita Harris, individually and on behalf of all                     3:21-cv-01040
others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

Kellogg Sales Company,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


       1.    Kellogg Sales Company (“defendant”) manufactures, labels, markets, and sells

toaster pastries labeled as “Frosted Strawberry” under the Pop Tarts brand (“Product”).




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       2.     Defendant only promotes the Product’s strawberry content in its labeling and

marketing, such as on its website.

                  STRAWBERRY                                HALF-EATEN      STRAWBERRY
             “TIMELESS, YET YUMMY”                          WITH A BITE OF THE PRODUCT




       3.     The Product’s website even shows consumers how to make a strawberry shortcake.




       4.     The representations are misleading because they give consumers the impression the

fruit filling contains a greater relative and absolute amount of strawberries than it does.




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I.     INCREASE IN CONSUMER SNACKING FUELS EMPHASIS ON HEALTHY
       INGREDIENTS

          5.    Research has shown that “consumers are eating fewer meals, yet snacking more than

ever.”1

          6.    Defendant is aware that a greater percentage of consumers are eating more snacks

and has emphasized the importance of fruit ingredients to make up for what “people don’t get

enough of at meals.”2

          7.    According to one company, “[A]s snacking increases, so too does the focus on

healthy products and ingredients.”3

          8.    Many consumers seek snacks which are a “healthy indulgence,” which is a “a treat

with all the flavor and taste desired, without the guilt of eating something ‘bad’ for you,” due to

the presence of ingredients known to confer positive health benefits.4

II.    CONSUMERS VALUE STRAWBERRIES

          9.    American consumers increasingly turn to strawberries for adding value to all types

of food and “the most popular berry fruit in the world.”

          10.   According to the U.S. Department of Food and Agriculture, “Americans now

consume twice as many strawberries as they did two decades ago.”5

          11.   Reasons for consumers choosing strawberries over other fruits include its

adaptability and nutritive benefits.

          12.   According to WebMD, strawberries “protect your heart, increase HDL (good)




1
  Elizabeth Louise Hatt, Snackin’ in the sun, Winsight Grocery Business, May 1, 2013.
2
  The Story on Snacking, Kellogg’s Nutrition.
3
  Mondelez Global, State of Snacking: 2020 Global Consumer Snacking Trends Study.
4
  FONA International, Trend Insight: Indulgence, November 28, 2018.
5
  The California Strawberry Commission, Consumer Trends: American Strawberry Consumption Doubles, May 7,
2013.


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cholesterol, lower your blood pressure, and guard against cancer.”6

          13.   These benefits are because strawberries have one of the highest levels of nutrient-

density of all fruits.

          14.   Strawberries are “an excellent source of vitamin C,” necessary for immune and skin

health.

          15.   One serving of strawberries provides more vitamin C than an orange.7

          16.   Strawberries have uniquely high levels of antioxidants known as polyphenols.8

          17.   Polyphenols are micronutrients that naturally occur in plants.

          18.   These polyphenols include flavonoids, ellagitannins, flavanols and phenolic acid.9

          19.   Polyphenols prevent or reverse cell damage caused by aging and the environment,

which is linked to greater risk of chronic diseases.

          20.   The benefits from strawberries cannot be provided by strawberry “flavor,” which

refers to compounds extracted from strawberries used solely for taste, without their nutritional

value.

III. STRAWBERRIES ARE VALUED ABOVE OTHER FRUITS

          21.   It is not just consumers’ subjective preferences which value strawberries over other

fruits.



6
  Andrea Gabrick, Nutritional Benefits of the Strawberry, WebMD.com; María Teresa Ariza, et al. "Strawberry
achenes are an important source of bioactive compounds for human health." International journal of molecular
sciences 17.7 (2016): 1103.
7
  Adda Bjarnadottir, MS, RDN, Strawberries 101: Nutrition Facts and Health Benefits, Healthline.com, March 27,
2019; Sadia Afrin, et al. "Promising health benefits of the strawberry: a focus on clinical studies." Journal of
agricultural and food chemistry 64.22 (2016): 4435-4449.
8
  Tamara Y. Forbes-Hernandez, et al. "The healthy effects of strawberry polyphenols: which strategy behind
antioxidant capacity?." Critical reviews in food science and nutrition 56.sup1 (2016): S46-S59.
9
  Francesca Giampieri, et al. "Strawberry consumption improves aging-associated impairments, mitochondrial
biogenesis and functionality through the AMP-activated protein kinase signaling cascade." Food chemistry 234
(2017): 464-471; Francesca Giampieri, et al. "The healthy effects of strawberry bioactive compounds on molecular
pathways related to chronic diseases." Annals of the New York Academy of Sciences 1398.1 (2017): 62-71.


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         22.   Market price data from the Bureau of Labor Statistics (“BLS”) confirms that

strawberries, when compared to other fruits, like stone fruits (apples) and citrus (oranges,

grapefruits, lemons), are the most expensive of the major fruits.




         23.   According to BLS, apples are typically between $1.20 and $1.50 per pound while

strawberries are no less than between $2 and $4 per pound.10

         24.   According to recent data from the USDA, pears are $1.552 per pound, while

strawberries, at $2.318 per pound, are almost fifty (50) percent more expensive.




10
  Stephen B. Reed, “Slicing through fruit price volatility,” Beyond the Numbers: Prices and Spending, Vol. 3:28,
Bureau of Labor Statistics, December 2014.


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IV.   STATE AND FEDERAL REGULATIONS REQUIRE FRONT LABEL TO
      DISCLOSE THAT FRUIT FILLING DOES NOT ONLY CONTAIN
      STRAWBERRIES

       25.   Federal and identical state regulations require a product’s front label to contain a

common or usual name which accurately identifies or describes, “in as simple and direct terms as

possible, the basic nature of the food or its characterizing properties or ingredients.” 21 C.F.R. §

102.5(a); Illinois Food, Drug and Cosmetic Act (“IFDCA”), 410 ILCS 620/1 et seq.; 410 ILCS

620/21(j) (“[a] federal regulation automatically adopted pursuant to this [Federal Food, Drug &

Cosmetic] Act takes effect in this State on the date it becomes effective as a Federal regulation.”).

       26.   Defendant’s representations violate 21 U.S.C. § 343(a)(1) and 410 ILCS 620/11,

which deem a food misbranded when the label contains a statement that is “false or misleading.”

       27.   Thus, a violation of federal food labeling laws is an independent violation of Illinois

law and actionable as such.

       28.   The Illinois Consumer Fraud and Deceptive Business Practices Act provides

protection for consumers purchasing products like Defendant’s Product, and states:

       Unfair methods of competition and unfair or deceptive acts or practices, including
       but not limited to the use or employment of any deception, fraud, false pretense,
       false promise, misrepresentation or the concealment, suppression or omission of
       any material fact, with intent that others rely upon the concealment, suppression or
       omission of such material fact . . . are hereby declared unlawful

       815 ILCS 505/2.

       29.   Whether a toaster pastry contains only strawberries or merely some strawberries and

a significant amount of other, less valued fruit ingredients, is basic front label information

consumers rely on when making quick decisions at the grocery store.

       30.   Strawberries are the Product’s characterizing ingredient, since their amount has a

material bearing on price or consumer acceptance, and consumer believe they are present in an

amount greater than is the case.


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       31.   The Product’s common or usual name of “Frosted Strawberry – Toaster Pastries,” is

false, misleading, and deceptive because its filling contains a relatively significant amount of non-

strawberry fruit ingredients – pears and apples – shown on the ingredient list.

                                                     Ingredients: Enriched flour (wheat flour,
                                                     niacin, reduced iron, vitamin B1 [thiamin
                                                     mononitrate], vitamin B2 [riboflavin], folic
                                                     acid), corn syrup, high fructose corn
                                                     syrup, dextrose, soybean and palm oil
                                                     (with TBHQ for freshness), sugar, bleached
                                                     wheat flour.



                                                     Contains 2% or less of wheat starch, salt,
                                                     dried strawberries, dried pears, dried apples,
                                                     leavening (baking soda, sodium acid
                                                     pyrophosphate, monocalcium phosphate),
                                                     citric acid, gelatin, modified wheat starch,
                                                     yellow corn flour, caramel color, palm oil,
                                                     xanthan gum, cornstarch, turmeric extract
                                                     color, soy lecithin, red 40, yellow 6, blue 1,
                                                     color added.


       32.   The relative amounts of the ingredients in the filling are determined based on their

listing in order of predominance by weight. 21 C.F.R. § 101.4(a)(1).

       33.   Based on a quantitative estimate and analysis of the filling, it appears to or may even

contain more non-strawberry fruit than strawberry ingredients.

       34.   The Product’s name is required to, but fails, to include the percentage of the

characterizing strawberry ingredient in the filling, because its amount has a material bearing on

price or consumer acceptance.

       35.   Examples of this disclosure could be, “Fruit Filling – 40% Strawberry, 30% Apple,

30% Pear.” 21 C.F.R. § 102.5(b).

       36.   The Product’s name, “Frosted Strawberry – Toaster Pastry,” is misleading because


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it includes “Strawberry,” but does not include pears and apples, even though these fruits are stated

in the fine print on the ingredient list. 21 C.F.R. § 101.18(b).

       37.    Toaster pastries which contain strawberries as their predominant filling ingredient

are not a rare or pricy delicacy that would make a reasonable consumer “double check” the relative

amount of the strawberries by scouring the packaging.

       38.    Toaster pastries with fillings which contain only strawberry fruits exist in the

marketplace and are not technologically or otherwise unfeasible to produce.

       39.    Competitor toaster pastries from Great Value (Walmart) and Clover Valley (Dollar

Tree) are described as “frosted strawberry,” with pictures of strawberries, but they put consumers

on notice that they have less strawberry ingredients than consumers would otherwise expect,

through the statement, “Naturally & Artificially Flavored.”




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        40.   Although defendant’s Product does not have added flavoring, these labels are used

to show how consumers are misled by defendant’s labeling, especially compared to similar

products.

        41.   Consumers seeing defendant’s Product, which exclusively promotes strawberries,

and the more “restrained” or truthful labeling of competitors, will purchase defendant’s Product,

believing it is higher quality than it is.




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           42.   The FDA has consistently warned companies that fail to describe their products with

a non-misleading, common, or usual name:

           Your Sour Cherry Juice (two unique brand names) and Sour Grape Juice (four
           unique brand names) products are misbranded within the meaning of section
           403(i)(1) of the Act [21 U.S.C. § 343(i)(1)] because the statement of identity does
           not bear an accurate common or usual name. According to 21 CFR 102.33(a), for a
           carbonated or noncarbonated beverage that contains less than 100 percent and more
           than 0 percent fruit or vegetable juice, the common or usual name shall be a
           descriptive name that meets the requirements of 21 CFR 102.5(a).11

           43.   The marketing and sale of foods which are advertised as containing valuable

strawberries but have a significant amount less strawberry ingredients than promised, is not

unknown within this Circuit.

           44.   In the fall of 1960, the FDA seized a shipment of “Strawberry Bars” where:

           strawberries, had been in whole or in part omitted or abstracted therefrom; 402(b)
           (4) – figs and dates had been mixed or packed with the articles so as to increase
           their bulk or weight and make them appear of greater value than they were; and
           403(a)-the label statements and the label vignettes depicting whole fresh fruit,
           apricots and strawberries, were false and misleading as applied to an article
           (Apricot Bars) containing no apricots, and an article (Strawberry Bars) containing
           a mixture of figs and dates and some strawberries.

           FDA, Notices of Judgment, No. 28302, “Fruit Bars,” F.D.C. No. 45358, E. Dist.
           Mich., July 11, 1961.

           45.   The Product is unable to confer any of the health-related benefits of strawberries

because the amount of strawberry ingredients is insufficient to provide the benefits of these fruits.

           46.   The Product cannot provide a true strawberry taste, because these attributes are

overwhelmed by the significant amounts of pears and apples compared to strawberries.

V.       ADDED COLOR FURTHERS DECEPTION AS TO STRAWBERRY CONTENT

           47.   According to the head of a prominent flavor and color manufacturer, “Color is the

first thing a consumer may consider when purchasing a food or beverage item.”


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     FDA Warning Letter, Shemshad Food Products, Inc., W/L 28-11, March 11, 2011.


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        48.   To give consumers the false impression that the Product contains a greater absolute

and relative amount of strawberries than it does, it contains red 40, a synthetic food coloring made

from petroleum.

        49.   Red 40 makes the strawberry-pear-apple combination look bright red, like it is only

strawberries or has more strawberries than it does.

        50.   According to one website, “Artificial dyes are also used to help hide the fact that

many processed foods don’t contain much (or any) of the nutrients or foods they claim to have.”

        51.   Without the added coloring, consumers would be suspect of a product labeled as

“Strawberry,” because the filling would be a more subdued tone instead of the bright red.

        52.   This could cause consumers to inspect the ingredient list to determine the truth.

        53.   However, reasonable consumers are not so distrustful to think they will be misled

when buying a well-known product like the Pop-Tarts from Kellogg’s here.

        54.   The Product does not reveal the addition of this artificial coloring anywhere other

than the ingredient list.

        55.   Though Red 40 has been approved by the FDA for use in food products and must be

listed as an ingredient on labels, it has been banned at one time or another throughout Australia

and most of Europe due to health concerns, and it is strongly linked to learning disorders and

hyperactivity in children.

VI.   CONCLUSION

        56.   The cost of using more strawberry ingredients, relative to pears and apples, would be

several cents per Product – not a significant addition to the price.

        57.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes, and features of the Product, relative to itself and other



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comparable products or alternatives.

        58.   The value of the Product that plaintiff purchased was materially less than its value as

represented by defendant.

        59.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

        60.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

        61.   The Product is sold for a price premium compared to other similar products, no less

than $5.49 for 12 Pop-Tarts (20.3 OZ), a higher price than it would otherwise be sold for, absent

the misleading representations and omissions.

                                            Jurisdiction and Venue

        62.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

        63.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

        64.   Plaintiff Anita Harris is a citizen of Illinois.

        65.   Defendant Kellogg Sales Company is an Delaware corporation with a principal place

of business in Battle Creek, Calhoun County, Michigan

        66.   The parties are citizens of different states.

        67.   Venue is in this district because plaintiff resides in this district and the actions giving

rise to the claims occurred within this district.




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                                               Parties

        68.   Plaintiff Anita Harris is a citizen of Cahokia, Saint Clair County, Illinois.

        69.   Defendant Kellogg Sales Company, is a Delaware corporation with a principal place

of business in Battle Creek, Michigan, Calhoun County.

        70.   Defendant is one of the largest food manufacturers in the world.

        71.   Defendant is known as a pioneer of breakfast foods – Special K, Corn Flakes, Nutri-

Grain Bars and Pop-Tarts, among other items.

        72.   The Product is sold at tens of thousands of retail locations – grocery stores, drug

stores, big box stores, convenience stores, etc. – and online.

        73.   The Product is sold individually (packet of two) and boxes of various numbers,

including 12 and 32 toaster pastries.

        74.   Plaintiff bought the Product on one or more occasions within the statute of limitations

for each cause of action alleged, at stores including Walmart, 1511 Camp Jackson Rd, Cahokia,

IL 62206, throughout 2020 and 2021, among other times.

        75.   Plaintiff bought the Product because she expected it would have more of the named

fruit ingredient.

        76.   Plaintiff wanted more than a “strawberry taste,” which she nevertheless failed to

receive, due to the relatively greater amount of pears and apples.

        77.   Plaintiff wanted a relatively greater amount of strawberry ingredient, which was not

received due to the unexpected and relatively significant amounts of pears and apples

        78.   Plaintiff expected the filling would contain more strawberry ingredients than it did.

        79.   Plaintiff did not expect that the filling would contain a non-de minimis amount of

non-strawberry fruit ingredients.




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        80.    Plaintiff bought the Product at or exceeding the above-referenced price.

        81.    Plaintiff relied on the representations identified here.

        82.    Plaintiff would not have purchased the Product if she knew the representations were

false and misleading.

        83.    Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the claims made by Defendant.

        84.    The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

        85.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with its composition.

                                              Class Allegations

        86.    Plaintiff seeks certification under Fed. R. Civ. P. 23(b)(2) and (b)(3) of the following

classes:

        Illinois Class: All persons in the State of Illinois who purchased the Product during
        the statutes of limitations for each cause of action alleged.

        Consumer Fraud Multi-State Class: All persons in the States of Iowa and
        Arkansas who purchased the Product during the statutes of limitations for each
        cause of action alleged.12

        87.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

        88.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.


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  The States in the Consumer Fraud Multi-State Class are limited to those States with similar consumer fraud laws
under the facts of this case: Iowa (Consumer Fraud and Private Right of Action for Consumer Frauds Act, Iowa Code
Ann. § 714.16 et seq.); Arkansas (Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et. seq.).


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       89.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       90.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       91.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       92.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       93.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                   (Consumer Protection Statute)

       94.    Plaintiff incorporates by reference all preceding paragraphs.

       95.    Plaintiff and class members desired to purchase a product had a greater absolute and

relative amount of strawberry ingredient.

       96.    Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.

       97.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       98.    Plaintiff relied on the representations.

       99.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.




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                             Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       100. The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class

prohibit the use of unfair or deceptive business practices in the conduct of trade or commerce.

       101. Defendant intended that plaintiff and each of the other members of the Consumer

Fraud Multi-State Class would rely upon its deceptive conduct, and a reasonable person would in

fact be misled by this deceptive conduct.

       102. As a result of defendant’s use or employment of artifice, unfair or deceptive acts or

business practices, plaintiff, and each of the other members of the Consumer Fraud Multi-State

Class, have sustained damages in an amount to be proven at trial.

       103. In addition, defendant’s conduct showed malice, motive, and the reckless disregard

of the truth such that an award of punitive damages is appropriate.

                                   Breaches of Express Warranty,
                              Implied Warranty of Merchantability and
                        Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       104. The Product was manufactured, labeled, and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it had a greater absolute and relative

amount of strawberry ingredient.

       105. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       106. This duty is based on Defendant’s outsized role in the market for this type of Product.

       107. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers, and their employees.

       108. Defendant received notice and should have been aware of these issues due to



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complaints by regulators, competitors, and consumers, to its main offices.

       109. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable because they were not fit to pass in the trade as

advertised.

       110. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       111. Defendant had a duty to truthfully represent the Product, which it breached.

       112. This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area, as custodian of the Kellogg’s brand.

       113. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, a nationally recognized and trusted brand.

       114. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       115. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud

       116. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it had a greater absolute and relative amount of strawberry ingredient

       117. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                        Unjust Enrichment

       118. Defendant obtained benefits and monies because the Product was not as represented


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and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: August 21, 2021
                                                           Respectfully submitted,

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